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15                           UNITED STATES DISTRICT COURT

16                                   DISTRICT OF ARIZONA
17
      Erik Johnson, an individual,                No. CV-21-00691-PHX-DLR
18
                                     Plaintiff,
19    vs.                                         NOTICE OF SERVICE OF
20                                                DISCOVERY
      Proctorio Inc., a Delaware corporation,
21
                                Defendant.
22

23    Proctorio Inc., a Delaware corporation,

24                        Counterclaimant,
25
      vs.
26
      Erik Johnson, an individual,
27

28                       Counterdefendant.
       Case 2:21-cv-00691-DLR Document 64 Filed 03/08/22 Page 2 of 2



 1           NOTICE IS HEREBY GIVEN that attorneys for Plaintiff-Counterdefendant
 2   served via email Plaintiff-Counterdefendant Erik Johnson’s Response to Proctorio Inc.’s
 3   First Set of Interrogatories to Defendant-Counterclaimant Proctorio, Inc. on March 2,
 4   2022.
 5

 6           DATED this 8th day of March, 2022.
 7                                         OSBORN MALEDON, P.A.
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 9                                         By s/ Eric M. Fraser
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